                                Geriatric Suicide Risk Factors

            Mood Disorder                          Mood problems like depression greatly
                                                   increase suicide risk

            Hopelessness                           Hopelessness, combined with any other risk
                                                   factor, greatly increases suicide risk

            Chronic Pain                           Patients with long-term pain problems have an
                                                   increased suicide risk, with risk increasing with
                                                   greater pain severity

            Age                                    Elderly patients (older than age 75) have a
                                                   significantly higher suicide risk

            Lethal Means                           Access to a gun creates an increased risk of
                                                   completed suicide

                              Case 3:05-cv-00444 Document 176-2 Filed 04/27/10 Page 1 of 24 PageID #: 4076
N13743-071-r01.ppt   Page 1                                     4/26/2010                                    1
                              Case 3:05-cv-00444 Document 176-2 Filed 04/27/10 Page 2 of 24 PageID #: 4077
N13743-071-r01.ppt   Page 2                                     4/26/2010
                         Mr. Smith’s Suicide Risk Factors
            Chronic Pain                              Mr. Smith suffered severe chronic pain, which
                                                      worsened dramatically in the months before his
                                                      death
            Untreated Depression                      Mr. Smith was diagnosed with depression before
                                                      he started Neurontin, and this depression went
                                                      untreated
            Hopelessness                              Mr. Smith became hopeless when he was told
                                                      there were no more options for treating his pain
            Suicidal Ideation                         Mr. Smith’s pain led to suicidal thoughts, which
                                                      he expressed on at least two occasions before
                                                      starting Neurontin
            Age                                       Mr. Smith was an elderly white male, part of a
                                                      group with the highest rate of completed suicide
            Access to Firearms                        Mr. Smith had access to guns in his home, an
                              Case 3:05-cv-00444
                                                      important risk factor for suicide
                                                   Document 176-2 Filed 04/27/10 Page 3 of 24 PageID #: 4078
N13743-071-r01.ppt   Page 3                                     4/26/2010                                      3
                              Case 3:05-cv-00444 Document 176-2 Filed 04/27/10 Page 4 of 24 PageID #: 4079
N13743-071-r01.ppt   Page 4                                     4/26/2010                                    4
                              Case 3:05-cv-00444 Document 176-2 Filed 04/27/10 Page 5 of 24 PageID #: 4080
N13743-071-r01.ppt   Page 5                                     4/26/2010                                    5
                                              March 11, 2003
                                        Nurses Notes – Dr. Berklacich




                                                               “I am already scheduled for
                                                               surgery on Thursday 3-13-03 –
                                                               I cannot wait – I am in so much
                                                               pain.”




                              Case 3:05-cv-00444 Document 176-2 Filed 04/27/10 Page 6 of 24 PageID #: 4081
                                                                                                       Source: 000006-52FMB-00052

N13743-071-r01.ppt   Page 6
                                  May 2, 2003
                 Neurosurgical Associates Notes – Dr. McCombs




                                                               Spoke w[ith] p[atien]t’s
                                                               daughter. States p[atien]t wishes
                                                               he could die because of pain and
                                                               depression. Advised to take
                                                               p[atient]t to ER for psych. eval
                                                               and tx [treatment].




                              Case 3:05-cv-00444 Document 176-2 Filed 04/27/10 Page 7 of 24 PageID #: 4082
                                                                                                        Source: 000006-1PRD-00408

N13743-071-r01.ppt   Page 7                                       4/26/2010
                                  May 5, 2003
                 Neurosurgical Associates Notes – Dr. McCombs




                                                               He states that he has
                                                               developed new symptoms
                                                               of increased leg pain.




                              Case 3:05-cv-00444 Document 176-2 Filed 04/27/10 Page 8 of 24 PageID #: 4083
                                                                                                       Source: 000006-34NEA-00001

N13743-071-r01.ppt   Page 8                                       4/26/2010                                                     8
                                                      May 15, 2003
                                                     Dr. Cato’s Notes




                              Case 3:05-cv-00444 Document 176-2 Filed 04/27/10 Page 9 of 24 PageID #: 4084
                                                                                                       Source: 000006-30HMA-00064

N13743-071-r01.ppt   Page 9                                       4/26/2010
                                                February 25, 2004
                                                Dr. Mackey’s Note




                                                           He is still having a lot of
                                                           back and radicular pain.
                                                           He also sounds like he is
                                                           getting a lot of knee pain.



                          Case 3:05-cv-00444 Document 176-2 Filed 04/27/10 Page 10 of 24 PageID #: 4085
                                                                                                    Source: 000006-32TOA-00009

N13743-071-r01.ppt   Page 10                                   4/26/2010                                                     10
                        March 24, 2004
      Pam Krancer’s Notes (Dr. McCombs’ Nurse Practitioner)

                                                           3/24/04 OV: ... He is again having
                                                           bilateral leg pain that radiates
                                                           down his buttocks, perineal area,
                                                           anterior part of his thigh and down
                                                           to his knee. ... He has difficultly
                                                           with standing and ambulation. ...Dr.
                                                           Mackey told him that it is recorded
                                                           there is a break off of his fusion
                                                           material that is encroaching some
                                                           of the nerves in his lower back. ...
                                                           He will have an ESI and start
                                                           Neurontin 300 mg. po tid.

                          Case 3:05-cv-00444 Document 176-2 Filed 04/27/10 Page 11 of 24 PageID #: 4086
                                                                                                    Source: 000006-34NEA-00003

N13743-071-r01.ppt   Page 11                                   4/26/2010
                                                May 4, 2004
                                           Physical Therapy Notes




                          Case 3:05-cv-00444 Document 176-2 Filed 04/27/10 Page 12 of 24 PageID #: 4087
                                                                                                   Source: 000006-35UMC-00076

N13743-071-r01.ppt   Page 12                                  4/26/2010
                                            May 19, 2004
                                  Letter of Dr. Christopher Woods
                                                           Mr. Smith was still troubled by back pain
                                                           and immediately told me that an end to
                                                           pain seemed to be hopeless. He
                                                           mentioned trying to get second opinions
                                                           but each orthopedic physician he saw
                                                           seemed to tune him out after hearing he
                                                           already had surgery. “It was like they
                                                           were all protecting each other.” I made
                                                           the suggestion he consider clinics
                                                           outside Tennessee but he did not
                                                           answer. Finally he simply said “I wish I
                                                           had never had the surgery in the first
                                                           place.” “I cannot cut the grass, work on
                                                           cars – you know I used to like you do all
                                                           the time.” “Now I am almost useless.”

                          Case 3:05-cv-00444 Document 176-2 Filed 04/27/10 Page 13 of 24 PageID #: 4088
                                                                                                    Source: 000006-19CLW-00001

N13743-071-r01.ppt   Page 13                                   4/26/2010                                                     13
                                        February 27, 2003
                               Neurological Surgeons Questionnaire




                          Case 3:05-cv-00444 Document 176-2 Filed 04/27/10 Page 14 of 24 PageID #: 4089
                                                                                                     Source: 000006-1PRD-00165

N13743-071-r01.ppt   Page 14                                   4/26/2010
                                  May 2, 2003
                 Neurosurgical Associates Notes – Dr. McCombs




                                                           Spoke w[ith] p[atien]t’s
                                                           daughter. States p[atien]t wishes
                                                           he could die because of pain and
                                                           depression. Advised to take
                                                           p[atient]t to ER for psych. eval
                                                           and tx [treatment].




                          Case 3:05-cv-00444 Document 176-2 Filed 04/27/10 Page 15 of 24 PageID #: 4090
                                                                                                     Source: 000006-1PRD-00408

N13743-071-r01.ppt   Page 15                                   4/26/2010
                                                   May 15, 2003
                                                  Dr. Cato’s Notes




                          Case 3:05-cv-00444 Document 176-2 Filed 04/27/10 Page 16 of 24 PageID #: 4091
                                                                                                   Source: 000006-30HMA-00064

N13743-071-r01.ppt   Page 16                                  4/26/2010
                                                   June 27, 2003
                                                  Dr. Cato’s Notes




                                                           A/D – doing well.
                                                           Overall improved.
                                                           Sleeping OK.
                                                           Off Lexapro – ran out.
                                                           Overall improved.




                          Case 3:05-cv-00444 Document 176-2 Filed 04/27/10 Page 17 of 24 PageID #: 4092
                                                                                                   Source: 000006-30HMA-00065

N13743-071-r01.ppt   Page 17                                  4/26/2010
                          Case 3:05-cv-00444 Document 176-2 Filed 04/27/10 Page 18 of 24 PageID #: 4093
N13743-071-r01.ppt   Page 18                                4/26/2010
                                               March 31, 2004
                                             Dr. McCombs’ Notes


                                                           31 March 04 OV: ... He had been
                                                           seen by his orthopedist who sent
                                                           him to Dr. Mackey who ordered
                                                           a myelogram study. Dr. Mackey
                                                           did not feel that the patient
                                                           needed additional surgery. ... He
                                                           is not a candidate for any type of
                                                           operative intervention. He will
                                                           be treated conservatively.


                          Case 3:05-cv-00444 Document 176-2 Filed 04/27/10 Page 19 of 24 PageID #: 4094
                                                                                                    Source: 000006-34NEA-00003

N13743-071-r01.ppt   Page 19                                   4/26/2010
                            May 5, 2004
          Dr. McCombs’ Notes With Annotations by Mr. Smith


                                                           Even with the medication, I still
                                                           have lumbar area back pain,
                                                           buttocks…back of legs to my
                                                           ankles.
                                                           5/5/04 – called to Gloria at
                                                           McCombs’ about pricking.
                                                           Sec called back, they have
                                                           nothing to offer but injections
                                                           at White Bridge Rd.


                          Case 3:05-cv-00444 Document 176-2 Filed 04/27/10 Page 20 of 24 PageID #: 4095
                                                                                                    Source: 000006-32TOA-00009

N13743-071-r01.ppt   Page 20                                   4/26/2010                                                     20
                                   911 Call Tape Transcript
                                                             Smith:    Oh, oh. I don’t know. Oh, oh,
                                                                       oh. I never knew his life
                                                                       would end this way, but he’s
                                                                       been in so much pain.
                                                             Operator: So, he has been sick?
                                                                             * * *
                                                             Smith:    Oh, he’s been so sick.
                                                                       Oh (crying).
                                                                             * * *
                                                             Smith:    I’m trying to call the other –
                                                                       one other one. (Crying). He
                                                                       was so, he was so sick and
                                                                       everything wrong with him.

                          Case 3:05-cv-00444 Document 176-2 Filed 04/27/10 Page 21 of 24 PageID  #: 4096
                                                                                             Source: Smith: 911 Call Tape Transcript

N13743-071-r01.ppt   Page 21                                     4/26/2010                                                        21
                                  May 2, 2003
                 Neurosurgical Associates Notes – Dr. McCombs




                                                           Spoke w[ith] p[atien]t’s
                                                           daughter. States p[atien]t wishes
                                                           he could die because of pain and
                                                           depression. Advised to take
                                                           p[atient]t to ER for psych. eval
                                                           and tx [treatment].




                          Case 3:05-cv-00444 Document 176-2 Filed 04/27/10 Page 22 of 24 PageID #: 4097
                                                                                                     Source: 000006-1PRD-00408

N13743-071-r01.ppt   Page 22                                   4/26/2010
                                                    May 13, 2004
                                                    Police Report




                                                           Metropolitan Police Department
                                                                        * * *
                                                           On 3-1-04, the victim mentioned
                                                           to his daughter, Cindy Smith,
                                                           that he might take his own life.




                          Case 3:05-cv-00444 Document 176-2 Filed 04/27/10 Page 23 of 24 PageID #: 4098
                                                                                                   Source: 000006-96MNP-00010

N13743-071-r01.ppt   Page 23                                  4/26/2010
                          Case 3:05-cv-00444 Document 176-2 Filed 04/27/10 Page 24 of 24 PageID #: 4099
N13743-071-r01.ppt   Page 24                                4/26/2010
